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 7
                                UNITED STATES DISTRICT COURT
 8                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 9
10
11    ABBY BEREKET, individually and on behalf            CASE NO. 2:17-cv-00812
      of all others similarly situated,
12
                                                          COMPLAINT—CLASS ACTION
                             Plaintiff(s),
13
                                                          DEMAND FOR JURY TRIAL
14            v.

15      PORTFOLIO RECOVERY ASSOCIATES,
16      LLC and JOHN DOES 1-25,

17                           Defendant(s).
18
19          Plaintiff ABBY BEREKET (hereinafter, “Plaintiff”), a Washington resident, brings this
20   class action complaint by and through his undersigned counsel, against Defendant PORTFOLIO
21
     RECOVERY ASSOCIATES, LLC (hereinafter “Defendant” or “PRA”) and JOHN DOES 1-25,
22
     individually and on behalf of a class of all others similarly situated, pursuant to Rule 23 of the
23
24   Federal Rules of Civil Procedure, based upon information and belief of Plaintiff’s counsel, except

25   for allegations specifically pertaining to Plaintiff, which are based upon Plaintiff’s personal
26
     knowledge.
27
28

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                                  JURISDICTION AND VENUE
 1
 2    1. The Court has jurisdiction over this class action under 28 U.S.C. § 1331, 15 U.S.C. § 1692

 3       et seq. and 28 U.S.C. § 2201. If applicable, the Court also has pendent jurisdiction over
 4
         the state law claims in this action pursuant to 28 U.S.C. § 1367(a).
 5
      2. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).
 6
 7                                  NATURE OF THE ACTION
 8
      3. Plaintiff brings this class action for damages for Defendant’s actions of using an unfair and
 9
         unconscionable means to collect a debt.
10
11    4. Defendant's actions violated § 1692 et seq. of Title 15 of the United States Code, commonly

12       referred to as the Fair Debt Collections Practices Act (“FDCPA”) which prohibits debt
13
         collectors from engaging in abusive, deceptive and unfair practices.
14
      5. Plaintiff is seeking damages, and declaratory and injunctive relief.
15
16                                            PARTIES
17
      6. Plaintiff is a natural person and a resident of the State of Washington, and is a “Consumer”
18
         as defined by 15 U.S.C. §1692(a)(3).
19
20    7. Defendant, Portfolio Recovery Associates, LLC (“PRA”) is a collection agency with its

21       principal place of business located Norfolk, Virginia.
22
      8. Upon information and belief, PRA is a company that uses the mail, telephone, and facsimile
23
         and regularly engages in business the principal purpose of which is to attempt to collect
24
25       debts alleged to be due another.

26    9. PRA is a “debt collector,” as defined under the FDCPA under 15 U.S.C. § 1692a(6).
27
28

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                                      CLASS ALLEGATIONS
 1
 2    10. Plaintiffs bring this claim on behalf of the following classes, pursuant to Fed. R. Civ. P.

 3       23(a) and 23(b)(3).
 4
      11. The Class consist of:
 5
                 (a) all individuals with addresses in the state of Washington (b) to
 6
 7               whom Defendant (c) sent a collection letter in an attempt to collect

 8               a debt (d) which offers a payment plan to pay in full a time barred
 9               debt (e) which fails to notify the consumer that by making partial
10
                 payment they may be restarting the statute of limitations (f) which
11
                 letter was sent on or after a date one year prior to the filing of this
12
13               action and on or before a date 21 days after the filing of this action.

14    12. The identities of all class members are readily ascertainable from the records of Defendants
15       and those companies and entities on whose behalf they attempt to collect and/or have
16
         purchased debts.
17
      13. Excluded from the Class are the Defendants and all officers, members, partners, managers,
18
19       directors, and employees of the Defendants and their respective immediate families, and

20       legal counsel for all parties to this action and all members of their immediate families.
21    14. There are questions of law and fact common to the Class, which common issues
22
         predominate over any issues involving only individual class members. The principal issue
23
         is whether the Defendants’ written communications to consumers, in the form attached
24
25       hereto as Exhibit A, violate 15 U.S.C. §§ 1692e.

26    15. The Plaintiffs’ claims are typical of the class members, as all are based upon the same facts
27
         and legal theories.
28

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      16. The Plaintiffs will fairly and adequately protect the interests of the Class defined in this
 1
 2       complaint. The Plaintiffs have retained counsel with experience in handling consumer

 3       lawsuits, complex legal issues, and class actions, and neither the Plaintiffs nor their
 4
         attorneys have any interests, which might cause them not to vigorously pursue this action.
 5
      17. This action has been brought, and may properly be maintained, as a class action pursuant
 6
 7       to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a well-

 8       defined community interest in the litigation:
 9       (a)     Numerosity: The Plaintiffs are informed and believe, and on that basis allege, that
10
                 the Class defined above is so numerous that joinder of all members would be
11
                 impractical.
12
13       (b)     Common Questions Predominate: Common questions of law and fact exist as to

14               all members of the Class and those questions predominate over any questions or
15               issues involving only individual class members. The principal issue is whether the
16
                 Defendants’ written communications to consumers, in the form attached hereto as
17
                 Exhibit A, violate 15 U.S.C. §§ 1692e.
18
19       (c)     Typicality: The Plaintiffs’ claims are typical of the claims of the class members.

20               The Plaintiffs and all members of the Plaintiff Class have claims arising out of the
21               Defendants’ common uniform course of conduct complained of herein.
22
         (d)     Adequacy: The Plaintiffs will fairly and adequately protect the interests of the class
23
                 members insofar as Plaintiffs have no interests that are averse to the absent class
24
25               members. The Plaintiffs are committed to vigorously litigating this matter.

26               Plaintiffs have also retained counsel experienced in handling consumer lawsuits,
27
                 complex legal issues, and class actions. Neither the Plaintiffs nor their counsel have
28

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                 any interests which might cause them not to vigorously pursue the instant class
 1
 2               action lawsuit.

 3       (e)     Superiority: A class action is superior to the other available means for the fair and
 4
                 efficient adjudication of this controversy because individual joinder of all members
 5
                 would be impracticable. Class action treatment will permit a large number of
 6
 7               similarly situated persons to prosecute their common claims in a single forum

 8               efficiently and without unnecessary duplication of effort and expense that
 9               individual actions would engender.
10
      18. Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure is also
11
         appropriate in that the questions of law and fact common to members of the Class
12
13       predominate over any questions affecting an individual member, and a class action is

14       superior to other available methods for the fair and efficient adjudication of the
15       controversy.
16
      19. Depending on the outcome of further investigation and discovery, Plaintiffs may, at the
17
         time of class certification motion, seek to certify a class(es) only as to particular issues
18
19       pursuant to Fed. R. Civ. P. 23(c)(4).

20
                                    ALLEGATIONS OF FACT
21
22    20. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs above

23       herein with the same force and effect as if the same were set forth at length herein.
24    21. Some time prior to August 23, 2016 an obligation was allegedly incurred to Bank of
25
         America.
26
27
28

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      22. The Bank of America obligation arose out of a transaction in which money, property,
 1
 2       insurance or services, which are the subject of the transaction, are primarily for personal,

 3       family or household purposes.
 4
      23. The alleged Bank of America obligation is a "debt" as defined by 15 U.S.C.§ 1692a(5).
 5
      24. Bank of America is a "creditor" as defined by 15 U.S.C.§ 1692a(4).
 6
 7    25. On or about August 23, 2016 Defendant caused to be delivered to Plaintiff a collection

 8       letter in an attempt to collect the alleged debt. See Exhibit A.
 9    26. The letter was sent or caused to be sent by persons employed by Defendant.
10
      27. The letter is a “communication” as defined by 15 U.S.C. §1692a(2).
11
      28. The August 23, 2016 letter offered the Plaintiff a number of payment options, one of which
12
13       offered to an ‘Installment Option’ for the Plaintiff to pay off his entire alleged debt over

14       the course of a number of months:
15
16
17
18
19
20
21
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24
25
26    29. As of August 23, 2016, more than six (6) years had elapsed since the last payment or
27       activity on the Bank of America debt subject to the letter.
28

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      30. Pursuant to RCW 4.16.040, the statute of limitations is six (6) years for filing suit to collect
 1
 2        on a debt.

 3    31. The August 23, 2016 letter states, “The law limits how long you can be sued on a debt.
 4
          Because of the age of your debt, we will not sue you for it.”
 5
      32. The Defendant fails to inform the Plaintiff that should he choose one of the payment plans
 6
 7        offered it may re-start the statute of limitations, which may expose the Plaintiff to future

 8        litigation for this debt.
 9    33. The Defendant does not inform Plaintiff that should the statute of limitations reset, the
10
          Defendant may have the right to commence legal action, which otherwise would have been
11
          barred.
12
13    34. The Defendant regularly sends collection letters on time-barred debts, offering small

14        monthly installment plans in payment of the entire debt, but does not inform the consumer
15        that the statute of limitations may reset upon making the first monthly payment.
16
      35. The Defendant regularly sends letters seeking to collect debts, which are time-barred, that
17
          offer small monthly installment plans in payment of the entire debt, informing the
18
19        consumer that he or he will not be sued due to the age of the debt; but not informing the

20        consumer that the statute of limitations may reset if a partial payment is made on the debt,
21        therefore allowing the Defendant the option of commencing legal action, which otherwise
22
          would be barred by the statute of limitations.
23
      36. The Federal Trade Commission has determined that “Most consumers do not know their
24
25        legal rights with respect to collection of old debts past the statute of limitations.... When a

26        collector tells a consumer that he owes money and demands payment, it may create the
27
28

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         misleading impression that the collector can sue the consumer in court to collect that debt.”
 1
 2       (See http://www.ftc.gov/opa/2012/01/asset.shtm).

 3    37. In early 2012, the FTC entered into a consent decree with Asset Acceptance, one of the
 4
         largest debt buyers in the United States, requiring it disclose to consumers when it is
 5
         attempting to collect debts that are barred by the statute of limitations. United States of
 6
 7       America (For the Federal Trade Commission) v. Asset Acceptance, LLC, Case No. 8:12-

 8       cv-182-T-27EAJ (M.D.Fla.).
 9    38. On October 1, 2012, the Consumer Financial Protection Bureau, which has taken over
10
         much of the FTC’s enforcement responsibility and has been granted rule-making authority
11
         with respect to debt collection, the Federal Deposit Insurance Corporation, the Federal
12
13       Reserve Board, and the Office of the Comptroller of the Currency entered into consent

14       orders with three American Express-related entities requiring disclosure that debts they
15       attempt to collect were time-barred. The October 1, 2012 orders further require disclosure
16
         of “all material conditions, benefits and restrictions concerning any offer of settlement . . .”
17
         (2012-CFPB-0002, p. 7 of 35, 2012-CFPB-0003, p. 6 of 28). Thus, they recognize that
18
19       “settlement offers” that fail to disclose material information may be misleading.

20    39. The Seventh Circuit recently found as to the defendant that “First, the letter does not even
21       hint, let alone make clear to the recipient, that if he makes a partial payment or even just a
22
         promise to make a partial payment, he risks loss of the otherwise ironclad protection of the
23
         statute of limitations. Second, the letter did not make clear to the recipient that the law
24
25       prohibits the collector from suing to collect this old debt. Either is sufficient reason to

26       affirm summary judgment for the plaintiff.” Pantoja v. Portfolio Recovery Associates,
27
         Case No. 15-1567 (7th Cir. March 29, 2017) (emphasis added).
28

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      40. Defendant could have taken the steps necessary to bring its actions within compliance with
 1
 2       the FDCPA, but neglected to do so and failed to adequately review its actions to ensure

 3       compliance with the law.
 4
 5                                            COUNT I

 6         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                             15 U.S.C. §1692e et seq.
 7
 8    41. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs above

 9       herein with the same force and effect as if the same were set forth at length herein.
10    42. Defendants’ debt collection efforts attempted and/or directed towards Plaintiff violated
11
         section 15 U.S.C. § 1692e of the FDCPA.
12
      43. Section 15 U.S.C. §1692e states that a debt collector may not use any false, deceptive, or
13
14       misleading representation or means in connection with the collection of any debt.

15    44. The Defendants violated said provision by:
16           a. Falsely representing the legal status of the debt in violation of 15 U.S.C.
17
                 §1692e(2)(A);
18
             b. Using false representations and/or deceptive means to collect or attempt to collect
19
20               any debt in violation of 15 U.S.C. §1692e(10).

21    45. By reason thereof, Defendants are liable to Plaintiff for judgment that Defendant's conduct
22
         violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages, costs and
23
         attorneys’ fees.
24
25
                                      PRAYER FOR RELIEF
26
         WHEREFORE, Plaintiff demands judgment against Defendants as follows:
27
28

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                     (a)      Declaring that this action is properly maintainable as a Class Action and
 1
 2                            certifying Plaintiff as Class representative and Ryan M. Pesicka as Class

 3                            Counsel;
 4
                     (b)      Awarding Plaintiff and the Class statutory damages;
 5
                     (c)      Awarding Plaintiff and the Class actual damages;
 6
 7                   (d)      Awarding Plaintiff costs of this Action, including reasonable attorneys’

 8                            fees and expenses;
 9                   (e)      Awarding pre-judgment interest and post-judgment interest; and
10
                     (f)      Awarding Plaintiff and the Class such other and further relief as this Court
11
                              may deem just and proper.
12
13
     Dated: May 24, 2017                                    By: s/Ryan Pesicka
14                                                          Ryan Pesicka, WSBA 48182
15                                                          CONCORD LAW, PC.
                                                            144 Railroad Avenue, Suite 236
16                                                          Edmonds, Washington 98020
                                                            (206) 512-8029 telephone
17
                                                            (206) 512-8914 facsimile
18                                                          ryan@condordlawseattle.com
                                                            Attorney for Plaintiff Abby Bereket
19
20
21
                                       DEMAND FOR TRIAL BY JURY
22
23           Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

24   trial by jury on all issues so trial.
25   Dated: May 24, 2017                                    By: s/Ryan Pesicka
26                                                          Ryan Pesicka, WSBA 48182
27
28

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